 

EUO OF LOUISE GRAVES

 

KUO
March 02, 2021

 

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Lindsey Perry, LCR,RPR, CRR

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Videoconference Examination Under Oath of:
LOUISE GRAVES
Taken on behalf of Owners Insurance Company

March 2, 2021
Commencing at 9:23 a.m.

 

 

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A P P E A R A N C £E S

For Owners Insurance Company:

MR. BENJAMIN E. GOLDAMMER

Attorney at Law

Kay Griffin, PLLC

222 Second Avenue North, Suite 340M
Nashville, Tennessee 37201

(615) 742-4800
ben.goldammer@kaygriffin.com

For the Insured, Louise Graves:

MR. RANDALL N. SONGSTAD
Attorney at Law

Songstad Law Firm

254 Court Avenue, Suite 505
Memphis, Tennessee 38103
(901) 870-5500
randy@songstadlawfirm.com

Also Present:

MR. CHUCK GRAVES

 

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I N D B XK

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By Mr. Goldammer
E x H I B T T Ss
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Exhibit No. 1 15
Sworn Statement in Proof of Loss
Signed June 1, 2018
Exhibit No. 2 17
Sworn Statement in Proof of Loss
Signed October 7, 2020
Exhibit No. 3 22

Helping Hands General Contractors
Estimate dated July 10, 2020

 

 

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S T I P UV L AT I ON S

The videoconference examination under
oath of LOUISE GRAVES was taken on behalf of Owners
Insurance Company, with all participants appearing
at their respective locations, on March 2, 2021, for
all purposes under the Tennessee Rules of Civil
Procedure.

It is agreed that LINDSEY R. PERRY, LCR,
RPR, CRR, CSR, Court Reporter for the State of
Tennessee, may swear the witness, and that the
reading and signing of the completed transcript by

the witness are not waived.

 

 

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THE REPORTER: Good morning. My name is
Lindsey Perry, licensed court reporter with
Elite-Brentwood Reporting Services, LCR No. 790.

Today's date is March 2, 2021, and the
time is approximately 9:23 a.m. Central. This is
the examination under oath of Louise Graves.

At this time, if any of the parties have
an objection to my administering the oath to the
witness via videoconference, please state your

objection now.

LOUISE GRAVES
was called as a witness, and after having been first

duly sworn, testified as follows:

EXAMINATION
QUESTIONS BY MR. GOLDAMMER:
Q. All right, ma'am. My name is Ben Goldammer.
I represent Owners Insurance Company. Hopefully
this will be pretty fast today. I'm not going to
take up much of your time.

We're here today to take what's called an

 

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examination under oath, and it -- your lawyer has
probably explained this to you, but what that means
is that your insurance policy provides that the
insurance company has the right to ask you questions
under oath about the claim you have submitted.

Do you understand that?
A. Yes.
Q. All right. And you're represented by

counsel here today who is Mr. Songstad; is that

correct?
A. Yes.
Q. At the end of this process, the court

reporter will type up everything you say and
everything I say. You will then be given the
opportunity to review your transcript and make any

changes within 30 days, okay?

A. Yes, sir.

Q. All right. Have you ever given a deposition
before?

A. Nope, not that I remember.

Q. Okay. Well, I'll -- I used the word

"deposition" because I assume if I'd asked you if
you'd ever taken an examination under oath, you
would have said "no," but just a couple of things to

keep in mind.

 

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First off, you're under oath here today, and
so obviously that means you have to tell the truth.
I know you'll do that. That's the first thing I
tell everybody.

Second is it's crucial that we communicate.
So if you can't hear me -- because I notice you're
kind of turning your head a little bit. If you're
having trouble or you don't understand my question,
it's imperative that you tell me.

Does that make sense?

A. Yes, sir.

Q. Okay. Because if you answer a question,
I'll assume you understood it. And by the same
token, if you don't understand a question, I want
you to stop and tell me you don't understand, okay?
A. Okay. Yeah. Okay.

Q. Last, people have a natural habit of
communicating through headshakes or "uh-huh,"

"huh-uh." If you do that, I'll probably say, you

know, "You have to say 'yes,'" or, "You have to say
no. To

A. Okay.

Q. It's not me trying to be rude to you, but

the court reporter can't type down a headshake.

A. I understand.

 

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Q. Okay. The property that we're here to talk
about today is 3525 East End Drive, right?

MR. GRAVES: 3523.

THE WITNESS: Yeah, 3523.

BY MR. GOLDAMMER:

Q. Yes, ma'am.

A. Yeah. Uh-huh. Yes. Yes, sir.

Q. And when did you first purchase that
property?

A. I don't remember the year. I don't know.

We was in business 37 years, but I don't remember

the year. I don't know. I haven't thought about

it.

Q. Would it have been sometime in the
mid-1980s?

A. Yes. Correct. Correct.

Q. Do you remember how much you paid for the
property?

A. No, sir.

Q. Did you purchase the property with your
husband?

A. Yes, sir.

Q. And did you-all lease the property to

somebody else? Did you run a business in the

property? What did you do with it?

 

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A. We ran a car dealership.

Q. And how long did you run a car dealership
for?
A. 30 years. I mean, probably 30-some years.

He's been gone 24 years. He's been gone 24 years

and -- 20 years -- close to -- I don't know. 35 or
40 years. I don't -- I haven't looked up dates. I
haven't -- I didn't know what you were going to ask

me, so I don't know, but around that time.

Q. That's all right. If you don't know, "I
don't know," is a perfectly fine answer.

A. Okay. Okay.

Q. So it sounds like you and your husband
bought the property in the mid-1980s, right?

A. Yes, sir.

Q. And you and your husband ran a car
dealership in the property for several years?

A. Yes, sir.

Q. At some point, did -- did -- was the
dealership turned over to a tenant, somebody else to
run the business?

A. No. We ran the dealership. I was there,
you know, all the time.

Q. When did you stop running the dealership?

A. Oh, boy. When was that? About 2017. About

 

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three years ago. 2017.
Q. And did somebody else take over the

dealership three years ago?

A. Yes, sir.

Q And who was that?
A. Jones Chevrolet.
Q Got it.

When you bought the property in 1984, how
many buildings were on-site?
A. The ones that are there now.
Q. Got it. Okay. And that would be -- is that
two buildings?
A. Yes, sir.
Q. At any time from 1980 -- from mid-1980s
through the present, have you replaced the roof on

either of those buildings?

A. Not to my knowledge.
MR. GRAVES: Tell them you -- it's
been -- one was resealed and one was replaced.

MR. GOLDAMMER: Sir, this is an
examination of --

MR. GRAVES: I'm sorry.

MR. GOLDAMMER: -- the insured. That's
all right. You're fine to stay and listen, but it's

her testimony here today.

 

 

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MR. GRAVES: Okay. I got you. No

problem.
BY MR. GOLDAMMER:
Q. All right, ma'am. So I put up what is a
lease agreement, and there's a couple of extensions
on the screen, and this is with CCC Jones Motor
Holdings, LLC.

I take it that is who took over the
dealership?
A. Jones, yes. Uh-huh. Yeah. Jones Motor
Holdings, yes. Uh-huh.
Q. Okay. And in -- well, first off, do you

know who put this lease together, who wrote this

lease?
A. No, sir.
Q. In paragraph -- or on page 2,

Paragraph 5(a), it provides your lessee, your
tenant, is going to maintain property damage
insurance with at least $300,000 in coverage.

Do you know if you ever received
certificates of insurance from your tenant for that
property damage insurance?

A. I hate to sound dumb. No, I don't know.
Q. It's not dumb. If you don't know the

answer, you don't know the answer.

 

 

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Do you know who Jones used as their
insurance agent?
A. No, sir.
Q. In the 30-plus years that you owned the
property, do you ever remember replacing siding or

trim or soffits or fascia on the side of the

building?
A. No, sir. No memory of that -- to that.
Q. I made some requests last year related to

this lease and related to the insurance.
Do you -- did you ever go to your tenant in

response to those requests and ask for proof of the

insurance?
A. No, sir.
Q. In the 35-plus years that you owned the

property, do you ever remember replacing ceiling
tiles for the ceiling out in the shop area?

A. No, sir. I don't remember that.

Q. All right. My understanding is the property
was sold at the end of 2020; is that correct?

A. Yes, sir.

Q. For -- I think it was in December of 2020
for $325,000; is that right?

A. Yes, sir. Yes, sir.

Q. And who was it sold to?

 

 

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A. I'm trying to think. They're right down the
street. I don't know. Oh, I hate this. It was --
Q. It wasn't sold to the people who own -- it
wasn't sold to Jones Chevrolet, I take it?

A. No, sir, it was not. It was not, no.

Q. As part of that sale, did the buyer receive
an assignment of your insurance claim?

A. Don't know.

Q. Have you negotiated any type of agreement
with the buyers of the property as to how the
insurance proceeds would be handled?

A. I haven't negotiated with anyone. I don't

do any of that stuff.

Q. Who -- who was it that handled the
transaction?

A. My --

Q. Was there a lawyer involved to handle the

sale of the property?

A. Oh, it was the real estate agent. His name
is -- let me look in my phone here. I'm trying

to -- I'm trying to find it. I can't remember
names. I just can't remember names anymore. I'm

trying to find it. Why can't I find it? Contacts.
Winfred Allen. He took care of the sale.

Q. All right. But you're saying you're not

 

 

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aware of there being any agreement with the buyer to

split any part of the insurance proceeds?

A. That's right.
Q. Got it.
A. I don't know anything about any agreement.

That's right.
Q. Okay. In the 35-plus years that you owned
the property, how many times do you remember there

being hailstorms at the property?

A. Several. Several times, yes.

Q. All the way back to the mid-1980s?

A. I don't remember.

Q. And when you say "several times," "several"

will mean different things to different people.

Does that mean more than five, more than 20?
What does it mean?
A. More than five.
Q. Okay. And is that more than five over the
35-plus-year period of time that you owned the

property, ma'am?

A. I just don't remember.
Q. Okay. Now, there was an initial claim
involving this property from -- I'm going to show

you a document. It's just taking a second to load.

There was an initial claim back in 2017.

 

 

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Actually, 20- -- yeah, 2017. May of 2017.

Do you remember this claim?
A. No, sir.
Q. Do you remember filing a lawsuit as part of
a claim against Owners Insurance Company in 2017?
A. I don't remember. I never got involved in
any transactions. I don't remember.
Q. Okay. Well, this is a proof of loss dated
June lst, 2018. And I'll zoom in for you, because I
can't figure out who signed it.

Do you know who signed this document for

you, ma'am?

A. I can't read the writing.

Q. Okay.

A. T can't read this writing. I don't know.
Q. Do you remember there being a hailstorm on

or around May 27, 2017, at the East End Drive
property?
A. No, sir. I don't remember anything like
that. I don't remember.

MR. GOLDAMMER: Okay. We'll mark this
as Exhibit 1.

(WHEREUPON, a document was marked as

Exhibit Number 1.)

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BY MR. GOLDAMMER :
Q. And I know some of these questions may sound
repetitive given the answer to the last question you
gave, but you just told me you don't recall a
hailstorm in May of 2017, right?
A. T just don't recall, no.
Q. Okay. And so I -- I assume you don't
remember being out at the property during a
hailstorm in May of 2017; is that correct?
A. That's correct.
Q. And I take it that you don't have any
personal knowledge as to what damage, if any, may
have been caused to the buildings as a result of
that storm; is that correct?
A. That's correct.
Q. All right. Thank you, ma'am.

Were you aware that a lawsuit had been filed

over that claim?

A. No.

Q All right.

A. I just never got involved in that stuff.
Q All right.

This is a proof of loss from October 7,

2020. This will be Exhibit 2.

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(WHEREUPON, a document was marked as
Exhibit Number 2.)
BY MR. GOLDAMMER:
Q. And this document, I believe, was signed by
Mr. William Griffin.

Do you see that?

A. Oh. Well, you can't read it.
Q. Okay. Well, that was actually going to be
my next question, was whether you were aware of

Mr. Griffin signing this document.

A. No, sir.
Q. Have you ever reviewed this document before?
A. Probably not, because I don't understand all

the small print. I leave everything up to my son.
He just -- since my husband passed away, he takes
care of everything for me.

Q. Yes, ma'am.

In this proof of loss, Mr. Griffin testifies
about a wind and hail event that occurred on or
around May 4, 2020.

Do you remember there being a wind and hail
event at the property on or around May 4, 2020?

A. Not aware of it.
Q. Are you able to testify as to any damage

that the property suffered as a result of a storm on

 

 

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or around May 4, 2020?

A. I'm not aware of it. I'm just not aware of
any of this stuff. I just -- I just don't get
involved in anything. I leave everything up to my
son, and we weren't there in 2020.

Q. I'm sorry, matam. You broke up. What did

you say about not being there?

A. I just don't -- I'm not aware of anything.
And 2020 -- isn't that a few months ago?
Q. Yeah, that would -- yeah, that would have, I

guess, been about 10 months ago, yes, ma'am.

A. I'm just not aware of anything, as I stay
out there on the farm. He takes care of everything.
I just go to him for everything.

Q. Understood.

There -- the lease with Jones Chevrolet was
done in 2016.

From 2016 until you sold the property in
December of 2020, how often were you at the
property, ma'am?

A. I worked there for a while, but then --
well, I worked there for a while. It was every day
for a while, but when I retired, I stayed home and
stayed out of it.

Q. Just to kind of circle back and put a bow on

 

 

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that, tell me if I'm wrong, but I think what you're
Saying is that after the dealership was taken over
by Jones Chevrolet, you stayed on and worked for

Jones Chevrolet for some period of time?

A. A few weeks.

Q. So that would have been --

A. They didn't want me.

Q. Okay. That -- so that would have been a few

weeks during 2016? Does that sound right?

A. I guess. I didn't keep track of the dates.
IT didn't keep track of the dates.

Q. Well, and what -- the only thing I base that
on was just the fact that the -- the lease with

Jones Chevrolet --

A. Uh-huh.

Q. -- is dated August 5 of 2016.

A. Right.

Q. And so I assumed you worked for Jones

Chevrolet for a few weeks during 2016.
Does that kind of refresh your memory?
A. Exactly, yes. Exactly, yes.
Q. And then after those few weeks of working
there, how much were you on-site after that?
A. Just to pick up the rent check.

Q. And was that monthly?

 

 

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A. Yes.
Q. How far do you -- so they didn't mail the

rent check. You'd physically go down there and get

it?

A. Yes, sir.

Q. How far do you live from the dealership?
A. Ten miles.

Q. When you stopped by to pick up the rent

check, do you ever recall anybody from Jones
Chevrolet telling you about or complaining about
hail or storm damage?

A. Leaks.

Q. Okay. And were those leaks that went back
to 2016 and 2017, ma'am?

A. I don't know. I don't know. I just -- I --
I really don't know because I just turn everything
over to my son and I don't -- I don't know.

Q. Who do you remember at Jones Chevrolet

complaining about leaks?

A. TI don't know. IT can't remember. TI don't
know.
Q. During the period -- I'm sorry. Did -- did

I cut somebody off?
A. No, you just cut off for a second.

Q. Got it. Okay.

 

 

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During the period of time that you ran the
dealership, so up till 2016, do you remember there
being leaks in the building?

A. Yeah. There was some ice storm or something

like that and it leaked, yeah. Uh-huh.

Q And do you recall how far back that was?

A No, I do not.

Q. Do you know if that damage was repaired?

A I -- I guess it was. I don't know.

Q All right. And again, if the answer is, "I
don't know," "I don't know" is a perfectly fine
answer.

A. Okay.

Q. In the summer of 2020, July of 2020, Helping

Hands General Contractors put together this estimate
that I've got in front of you on your screen.

A. Okay.

Q. Prior to today, have you ever seen this
document before?

A. No, sir.

Q. And if I fast-forward through it and go to
the photographs, there's some photographs. For
example, page 32 of the document, there's some
indentations in the panelling.

Do you see that?

 

 

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A. I do.

Q. Are you able to testify that that damage is
attributable to a May 2020 storm event?

A. No, sir. I don't know what happened. I
don't know what caused it.

Q. Okay. And again, like I said, if the answer
is you don't know, that's -- if that's the truth,
that's the right answer is what I always tell
people.

I've -- there's a lot of photographs. It's
because it's a 70-page document, but I've, you know,
jumped to page 34, and there's a note on this
photograph about hail splatter -- hail spatter. And
I'm happy to look at every photograph in here with
you, but if what you're going to tell me is that we
could look at all of them and you're not going to be
able to tell me what relates to a May 2020 storm and
what does not, then that will short-circuit this
process.

A. I have no way of knowing.

MR. GOLDAMMER: All right. We'll mark
this as Exhibit 3.

(WHEREUPON, a document was marked as

Exhibit Number 3.)

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BY MR. GOLDAMMER:
Q. Was the decision to make a claim with Owners
Insurance Company for the 2020 storm, was that
something you came up with and decided to do or is
that something your son came up with?
A. Not me. I just leave all the business up to
him. Everything.

MR. GOLDAMMER: All right, ma'am. Well,
I told you I would be fast, and so we've been fast
here today. Like I told you at the beginning,
you'll get a chance to read and sign this. The
court reporter will send it to your lawyer, and then
you'll have 30 days to review it and make any
changes you would like to make and swear to those
under oath, all right?

THE WITNESS: Yes, sir.

MR. GOLDAMMER: Thank you very much for
your time here today.

FURTHER DEPONENT SAITH NOT

(Proceedings concluded at 9:51 a.m.)

Lindsey Perry * Elite-Brentwood Reporting Services *

 

 

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ERRATA PAGE

I, LOUISE GRAVES, having read the foregoing
examination under oath, Pages 1 through 23, do
hereby certify said testimony is a true and accurate
transcript, with the following changes (if any):

PAGE LINE SHOULD HAVE BEEN

 

 

 

 

 

 

 

 

 

 

 

 

 

LOUISE GRAVES

 

Notary Public
My Commission Expires:

Reported by: Lindsey R. Perry, LCR, RPR, CRR, CSR
Lindsey Perry * Elite-Brentwood Reporting Services *

 

 

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REPORTER'S CERTIFICATE
STATE OF TENNESSEE
COUNTY OF WILLIAMSON

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